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March 2, 2022

VIA EMAIL

The Honorable Alison J. Nathan
United States District Court
Southern District of New York
40 Foley Square
New York, NY 10007

Re:    United States v. Ghislaine Maxwell, 20 Cr. 330 (AJN)
       Maxwell Request for adjournment of hearing on Motion for New Trial



Dear Judge Nathan,

       Ms. Maxwell respectfully requests that the Court continue the hearing scheduled to occur

on March 8, 2021. Unfortunately, Ms. Maxwell’s Colorado based counsel are unavailable.

       Mr. Pagliuca will be in a criminal jury trial in Eagle County Colorado, People v. Robert

Fergus-Jean, 2020 CR 000304. Both sides announced ready on February 9, 2022. The trial will

begin on March 7 and will last approximately 10 days. Ms. Menninger is

                                  and unavailable to travel to New York



       On March 16, 2022, Ms. Sternheim starts a trial, of approximately six-week duration,

before the Honorable Jesse M. Furman in United States v. Marquez-Alejandro and Blondet, 16

Cr. 387 (JMF), the trial that was rescheduled to accommodate commencement of Ms. Maxwell’s

trial last November.
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       Ms. Maxwell requests that her lawyers be present for this important proceeding and that

the Court continue the matter to a date in May convenient to the Court and the parties.

Respectfully Submitted,




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cc: Counsel of record (via Email)
